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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

BERKELEY VENTURES II, LLC,

Plaintiff,
CIVIL ACTION FILE
Vv.
No. 1:19-cv-05523-SDG
SIONIC MOBILE CORPORATION and
RONALD D. HERMAN,

a i

Defendants.
NOTICE OF APPEARANCE
Wilmer Parker hereby enters his appearance as counsel of record for

Plaintiff Berkeley Ventures II, LLC in the above captioned case.

This 23rd day of August 2021.

/s/ Wilmer Parker
Georgia Bar No. 563550

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing Notice of Appearance has been

electronically served on all attorneys of record.

This 234 day of August 2021.

/s/ Wilmer Parker
Georgia Bar No. 563550

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